                               UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                                                                                        D

 JUSTICIA RIZZO                                                        CMLACTION 2022 MAR         _ 2 PM 12: 07

                  Plaintiff-                                                               ~41STRICTCT
                                                                     03 - 22 0                           of TN
         V.
          JOSEPH ROBINETTE BIDEN JR                             Oral Argument Requested

       PRESIDENT OF THE UNITED STATES
                        (POTUS)
                 CHUCK SCHUMER
            UNITED STATES SENATOR
                      NEW YORK
         DEMOCRATIC SENATE LEADER
                   NANCY PELOSI
              CALIFORNIA CONGRESS
              SPEAKER OF THE HOUSE
                      Defendants-



                          PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION

COMES NOW, The Plaintiff Justicia Rizzo, Non Attorney, HONORABLY
DISCHARGED Veteran, NATO Recipient, pro se, who has been recognized as Federal
Whistle Blower, pursuant to MSPB Case CH-0752-15-0104-I-2, Respectfully moves this
Court for a preliminary injunction to TEMPORARILY BLOCK the Confirmation of The newly
nominated Supreme Court Justice, Ketanji Brown Jackson, until the United States Senate
CONFIRMS the Merit System Protection Board ( MSPB) Judges FIRST. The MSPB Judges,
have been nominated twice and confirmed by two senate committees twice in both the Donald
Trump Administration and the Joe Biden Administration, yet Senate Leader Chuck Schumer has
FAILED to schedule and hold the confirmation of these judges for more than 5 years, leaving the
MSPB without quorum, resulting in over 3,400 cases on backlog, with reportedly'774 labeled as
Whistle Blower Cases, and reportedly about loo federal cases stuck in limbo disputing whether
the initial decisions of the administrative judges were made by inferior judges. The Plaintiff
along with thousands of other litigants have been subject to IRREPERABLE HARM . This
injunction also affects public interest of thousands of other Federal Employees . Because there are
several issues at hand that affect both irreparable harm and public interest , The Plaintiff
respectfully request this court to expedite ruling, and consolidate the preliminary injunction
hearing with the trial regarding the legal merits . The Plaintiff seeks the foregoing motion as
outlined in Fed. R. Civ. P. 65(a) along with a Memorandum in Support



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                          UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE



JUSTICIA RIZZO

             Plaintiff-

      V.

JOSEPH ROBINETTE BIDEN JR
PRESIDENT OF THE UNITED STATES
(POTUS)

CHUCK SCHUMER
UNITED STATES SENATOR
NEW YORK
DEMOCRATIC SENATE LEADER


Defendants


                    PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
                                  JUSTICIA RIZZO
                                  PLAINTIFF /Veteran /pro se


                                  JOSEPH ROBINETTE BIDEN JR
                                  DEFENDANT / UNITED STATES PRESIDENT


                                  CHUCK SCHUMER
                                  DEFENDANT / DEMOCRATIC SENATE LEADER

                                  NANCY PELOSI
                                  DEFENDANT/ SPEAKER OF THE HOUSE


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                                  1600 Pennsylvania Ave, NW
                                  Washington, DC 20502


                                  UNITED STATES SENATE
                                  322 Hart Senate Office Bldg.
                                  Washington, DC20510


                                  UNITED STATES CONGRESS
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                                  Washington, DC 20515


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CERTIFICATE OF SERVICE




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CASES
a.    See Grant v. GHGo14, LLC, 65 SO-3d io66, io67 (Fla. 4th DCA 2010). Injunctive relief is usually
     categorized as temporary or permanent in duration and mandatory or prohibitory in effect. Prohibitory
     injunctive relief restrains or enjoins the commission or continuance of an act and prevents a threatened injury to
     the applicant or moving party. Mandatory injunctive relief goes beyond mere restraint and requires the enjoined
     party to perform specific affirmative acts. For this reason, mandatory injunctions "are looked upon with disfavor,
     and the courts are even more reluctant to issue them than prohibitory ones.
b.   See Sampson v. Murray, 415 U.S. 61, 88 (1974). The sine qua none of injunctive relief is a showing of
     irreparable injury and the inadequacy of legal remedies. Generally, the party requesting an injunction must
     establish the likelihood of irreparable harm if the injunction is not entered and that other remedies at law are
     inadequate.
c.    See Pop Radio, LP v. News America Marketing In-Store, Inc., 898 A.2d 863, 867 (Conn. Super.
     Ct. 2005). )"To obtain a temporary injunction, an applicant must plead and prove: (1) a cause of action against
     the defendant; (2) a probable right to the relief sought; and (3) a probable, imminent, and irreparable injury in
     the interim"
d.   See also Lifeguard Benefit Services, Inc. v. Direct Medical Network Solutions, Inc., 308 S.W.3d
     102, 111 (Tex. App. 2o1o)"To obtain a temporary injunction, an applicant must plead and prove: (1) a cause of
     action against the defendant; (2) a probable right to the relief sought; and (3) a probable, imminent, and
     irreparable injury in the interim";
e.   See Stop Rail Now v. DeCosta, 203 P.3d 658, 663 (Haw. a. App. 20o8)("Generally, the standard for a
     preliminary injunction is: (1) whether the moving party has shown that it is likely to succeed on the merits; (2)
     whether the balance of irreparable harms favors the issuance of an injunction; and (3) whether the public interest
     supports granting such an injunction").
f.    See eBay Inc. v. MercExchange, L.L.C. case The U.S. Supreme Court reiterated the legal standard for
     injunctive relief: A plaintiff seeking an injunction must demonstrate that: (1) it suffered an irreparable injury; (2)
     remedies at law, such as monetary damages, are inadequate to compensate for the injury; (3) considering the
     balance of the hardships between plaintiff and defendants, a remedy in equity is warranted; and (4) the public
     interest would not be disserved by a permanent injunction.
g.    See eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391(2oo6). These criteria are similar if not
     identical to the legal standards for injunctive relief in the Federal Circuit: A] plaintiff seeking a preliminary
     injunction must establish [1] that he is likely to succeed on the merits, [2] that he is likely to suffer irreparable
     harm in the absence of preliminary relief, 131 that the balance of equities tips in his favor, and 141 that an
     injunction is in the public interest
h.    See Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (20o8) district court may grant injunctive
     relief only if the movant establishes the following: (1) it has a substantial likelihood of success on the merits of
     the underlying case; (2) the movant will suffer irreparable harm in the absence of an injunction, (3) the harm
     suffered by the movant in the absence of an injunction would exceed the harm suffered by the opposing party if
     the injunction issued, and; and (4) an injunction would not disserve the public interest
i.   See American Signature, Inc. v. U.S., 598 F.3d 816, 823 (Fed. Cir. 2010)). district court may grant
     injunctive relief only if the movant establishes the following: (i) it has a substantial likelihood of success on the
     merits of the underlying case; (2) the movant will suffer irreparable harm in the absence of an injunction, (3) the
     harm suffered by the movant in the absence of an injunction would exceed the harm suffered by the opposing
     party if the injunction issued, and; and (4) an injunction would not disserve the public interest
j.   See also Titan Tire Corp. v. Case New Holland, Inc., 566 F.3d 1372,1375-76 ( Fed. Cir. 2009). A
     district court may grant injunctive relief only if the movant establishes the following: (1) it has a substantial
     likelihood of success on the merits of the underlying case; (2) the movant will suffer irreparable harm in the
     absence of an injunction, (3) the harm suffered by the movant in the absence of an injunction would exceed the
     harm suffered by the opposing party if the injunction issued, and; and (4) an injunction would not disserve the
     public interest
k.    See North American Medical Corp. v. Axiom Worldwide,Inc., 522 F.3d 12:11, 12:17 Under Federal law,
     the procedure for obtaining injunctive relief is governed by Federal Rule of Civil Procedure 65. addresses
     preliminary injunctions and TROs. See Fed. R. Civ. P. 65(a)-(b). Under Fed. R. Civ. P. 65, a preliminary
     injunction may only issue on notice to the adverse party. See Fed. R. Civ. P. 65(a). Also pursuant to Fed. R. Civ. P.
     65, a TRO may issue without written or oral notice to the adverse party or their attorney.
1.   See(iith Circuit 2008); Siegel v. Lepore, 234 F.3d 1163,1176 (11th Cir. 2000). However, other circuit
     courts require irreparable harm to be proven by the employee in discrimination and retaliation cases before
     injunctive relief can be granted.
m.   See Baker v. Buckeye Cellulose Corp., 856 F.2d 167 (11th Cir.1988). However, other circuit courts
     require irreparable harm to be proven by the employee in discrimination and retaliation cases before injunctive
      relief can be granted.
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 n. See DeNovellis v. Shalala, 135 F.3d 58 (ist Cir. 1998); Stewart v. U.S. Immigration &
    Naturalization Serv., 762 F.2d 193 (2d Cir. 1985); ); In the employment law context, certain jurisdictions
      support a presumption of irreparable harm in discrimination and retaliation cases
 o.    See Marxe v. Jackson, 833 F.2d 1121(3d Cir. 1987); In the employment law context, certain jurisdictions
      support a presumption of irreparable harm in discrimination and retaliation cases
 p.    See EEOC v. Anchor Hocking Corp., 666 F.2d 1037 (6th Cir. 1998). In the employment law context,
      certain jurisdictions support a presumption of irreparable harm in discrimination and retaliation cases
 q.   See City of Los Angeles v. Lyons, 461 U.S. 95, 1o7 it. 8 0083). The plaintiff must establish irreparable
      harm is likely if the court does not grant the preliminary injunction.
 r.   See Amoco Production v. Village of Gambell, The Supreme Court determined public interest promoted by
      the Alaska National Interest Lands Conservation Act "to protect Alaskan subsistence resources from unnecessary
      destruction," rather than preventing the actions the plaintiff sought to enjoin. 48o U.S. 531, 544 (1987)
 s.    See Hutto v. Firmer/ (1978)Supreme Court blessed this kind of maneuver as a means to
      circumvent state sovereign immunity to contempt fines .Still, not every point about state sovereign immunity
      carries over to its federal analogue. For example, if the fined official had no personal connection to the
      noncompliance (e.g., if the court tried to fine the agency head on a vicarious liability theory), contempt sanctions
      might be barred altogether, or compensable from the Judgment Fund.
 t.    See D.C. Circuit said in Cobell v. Norton (2003). That contempt findings may come with no sanction
      does not render them powerless.
 u.    See Pickering v. Board of Ed. of Township High School Dist. 205, Will Cty., 391 U.S. 563, 568,
      (1968), "citizens do not surrender their First Amendment rights by accepting public employment," and that
      retaliation for exercise of these rights is illegal. This is still the law of the land, and this principle was upheld as
      recently as 2014, where the Supreme Court, in Lane v. Franks, 134 S. Ct. 2369, 2377 (2014), explained:
 V.    See Griffin v. Illinois, 351 U.S. 12,16-17 (1956) (explaining that our constitutional guarantee of due
      process follows the tradition set forth in the Magna Carta).
 w.   See Pacific Mutual Life Insurance Co. v. Haslip, 499 U.S. 1, 28-34 (1991) (Scalia, J., concurring)
      (describing the history of due process from the Magna Carta in 1215, to an English statute from 1354, to the
      American colonists' understanding of the term in the late 18th century as expressed in their laws and state
      constitutions, to Supreme Court decisions reached thereafter).
 X.   See Lloyd-La Follette Act, 37 Stat. 555, Aug. 24,1912.5 S. Rep. 95-969, at 40 (1978 U.S.C.C.A.N.
      2723, 2762) (explaining that the CSRA's "new procedures [were expected to] make it possible to act against
      ineffective employees with reasonable dispatch, while still providing the employee his due process rights")
 y.    See Gajdos v. Department of the Army, 121 M.S.P.R. 361, 1 t 18-25 (2014) (arguing that Mathews v.
      Eldridge, 424 U.S. 319 (1976) established the standard to determine due process rights); dissenting opinion of
      Vice Chairman Wagner, at ¶ 3 (asserting that the Board's examination of an employee's entitlement to due
      process should be governed by Cleveland Board of Education v. Loudermill, 470 U.S. 532 (1985), not Mathews).
 Z.    See Gilbert, 520, U.S. at 930 (quoting Morrissey v. Brewer, 4o8 U.S. 471, 481(1972)). Due process
      "is flexible and calls for such procedural protections as the particular situation demands.

STATUTES AND REGULATIONS
5 U.S.0 7102 Employees' Rights
5 U.S. Code § 23018A B 9 A&B - Merit System Principles
5 USC §551 et seq. (1946) Administrative Procedure Act
5 U.S. Code § 3331 — Federal Employees, US President, US Senate, US Congress Oath of office
5 U.S.C. § 702. Contempt fines to compensate the plaintiff for loss suffered due to the defendant's noncompliance
15 U.S. Code § 1825 - Violations and penalties for violating the Federal Oath to Office


CODE OF FEDERAL REGULATIONS
5 CFR Appendix IV to Part 1201, Sample Declaration Under 28 U.S.C.1746
Title 42 Code of Federal Regulations 2000e
29 CFR Part 1614 — Reporting Complaints of Discrimination
29 CFR 16o6.8 - Harassment.
29 CFR 1614-Federal Sector Equal Employment Opportunity
29 CFR Part 1614, Subpart G - Antidiscrimination & Retaliation Act of 2002 No FEAR Act Pub L. lo7 r74
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STATUES AND OTHER REGULATIONS
Civil Service Reform Act of 1978 (CSRA)
Civil Rights Act of 1964 (Title VII) /Civil Rights Act of 1991


UNITED STATES CONSTITUTION
5th Amendment; Due Process
14th Amendment; Due Process


Federal Rules of Civil Procedure
Fed. R. Civ. P. 65(a) Injunctions and Restraining Orders
Fed. R. Civ. P. 70 Enforcing .Judgement for a Specific Act
Fed. R. Civ. P. 62. Stay of Proceedings to Enforce a .Judgment
Fed. R. Civ. P. 4.1(a). US Marshall serving Injunction


MAGNA CARTA— DUE PROCESS LAW OF THE LAND
Due process is a constitutional guarantee that prevents governments from impacting citizens in an abusive way. Due
process includes procedural standards courts must uphold in order to protect peoples' personal liberh .I t traces its
origins to Chapter 39 of King John's Magna Carta, which means no citizen will be dispossessed of his property, or
harmed except "by the lavv- of the land," referred to customary- practices of the court. The phrase "'due process of lave"
first appeared as a substitute for Magna Carta's "the lave of the land" in a 1354 statute of King Edward III that restated
Magna Carta's guarantee of the liberty of the subject.


Administrative Procedure Act (APA),
U.S. law, enacted in 1946, stipulates how federal agencies may make and enforce regulations. The APA was the
product of concern about the rapid increase in the number of powerful federal agencies in the first half of the 20th
century, when President Franklin D. Roosevelt, created a number of agencies to implement his social and economic
programs. Agencies are extensions of the Executive branch of government which have the ability to make, interpret,
and enforce rules and regulations. Because they are unelected and arguably combine executive, legislative, and judicial
functions, agencies have been criticized as undermining the separation of powers between the three branches of
government. Defenders of agencies have argued that potential abuses can be prevented by Congress, which supervises
the work of federal agencies. In any event, agencies serve an important practical purpose because they can address
problems more quickly and in more detail than Congress. Agencies may be called upon to apply technical, or
administrative expertise to implement the broad policy decisions made by Congress.

LEGISLATION
Whistle Blower Protection Enhancement Act § 2(a) WPEA authorizes the MSPB to award compensatory
damages in prohibited personnel practice cases. The WPA prohibits the taking of a broad range of personnel actions in
retaliation including removals, demotions, reassignments, pay decisions, as well as significant changes in duties.
responsibilities, or working conditions
H.R. 571, The Veterans Retaliation Prevention Act of 2015. Provides that ( VA) employees who seek to report
potential government tvaste, criminal, behavior, or compromised heath care services tvith in the VA, a set process to
fir problems at the lotvest level, affording them improved protection from retaliation
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                           AFFIVDAVIT DECLARATION IN SUPPORT OF MOTION
    i. Justicia Rizzo ,pro se litigant am the Plaintiff of the request for the Preliminary Injunction, make the
        following declarations/ arguments under the penalty of penury.
                                                   INTRODUCTION
The MSPB has lacked the two members needed to form a quorum since January 2017. In October 2021, the U.S.
Senate Committee on Homeland Security & Governmental Affairs voted to advance President Biden's three
nominees for the Board: Cathy Harris, Raymond Limon, and Tristan Leavitt. A full Senate vote on the nominees has
yet to be held, though the same committees also voted to confirm Donald Trump's nominees. The Senate has basically
repudiated the Administrative Procedure Act by deliberately creating a judicial road block for any employee with a
MSPB case pending before the MSPB Board. By not implementing quorum at the MSPB, the Senate is holding federal
employees' due process rights hostage. The MSPB is unable to issue final rulings on whistleblower retaliation cases for
federal employees which violates the Whistle Blower Protection Act pf 2017. This means that federal employees
who were fired or otherwise retaliated against for blowing the whistle on misconduct have been left in legal limbo for
years without any remedy insight. The MSPB currently estimates there is a backlog of over 3,400 cases (Three
Thousand four hundred) pending before the Board. According to governmental news outlets, former MSPB member
Mark Robbins, argued that " this backlog could take over 5 years to work through." The Senate's continual failure to
confirm the MSPB judges is blocking the due process rights of federal employees, whom are to have a constitutional
guaranteed right backed by the Supreme Court. The lack of quorum at the MSPB has essentially blocked numerous
litigants from obtaining judicial remedy. The United States, Senate's continual failure to confirm the MSPB judges is a
mockery to the Civil Service Reform Act and Violates the US Constitutional bight to Due Process of the Fifth and
Fourteenth Amendment which says that no one shall be "deprived of life, liberty or property without
due process of law." The Fourteenth Amendment, ratified in 1868, uses the same eleven words, called the "Due
Process Clause", to describe a legal obligation of all states. The Fifth and Fourteenth Amendments to the Constitution,
incorporated the model of the rule of law that English and American lawyers associated with Magna Carta for
centuries. Under this model, strict adherence to regular procedure was the most important safeguard against ty-ranny.
Over time, courts in the United States have ruled that due process also limits legislation and protects certain areas of
individual liberty from regulation. Additionally, The Supreme Court has held that federal employment is
constitutionally protected property, meaning that it cannot be taken away without due process. The fact that a
Democratic lead Senate has repeatedly failed to schedule and confirm judges necessary to uphold the US Constitution,
The Civil Service Reform Act and the Administrative, essentially means that Chuck Schumer is guilty of failing to
uphold his oath of office which is punishable pursuant to 18 U.S.C. 1918:. However the Democrats appear to be
deliberately holding the judicial remedies in limbo on purpose. Thousands of administrative cases remain in a state of
judicial limbo without the Senate being held responsible. The Plaintiff is acting in the interest of justice to STOP any
further abuse of power. The Senate's attempt to fast track a Democratic Judge to the Supreme Court when thousands
of other cases have been held up is a mockery to justice. There are both Administrative and other Federal Court cases
held up by the Senate. The SAME set of people designated to confirm the Supreme Court Justice are appointed to
confirm the MSPB judges, therefore the Plaintiff seeks to BLOCK the confirmation of the Supreme Court Justice until
the (3) Appointees for the MSPB are confirmed FIRST.




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                                                     ARGUMENT
The Plaintiff was wrongfully terminated in 2014, after reporting alleged Patient Neglect at the Geriatrics and
Extended Care Line of the satellite location of the Cincinnati Department of Veteran Affairs. The Plaintiff both filed a
complaint with the Cincinnati VA In- Patient Advocate and also wrote a letter to the OBMA White House, regarding
perceived, patient neglect, abuse of authority, retaliation and discrimination. President Barrack Obama, appointed
the former CEO of Procter and Gamble to the Department of Veteran Affairs, Bob McDonald who held a open town
hall which reportedly lead to the Cincinnati VA Director being forced to retire. However, President Barrack Obama left
office without nominating (1) Administrative Judge to the MSPB in 2016. In March of 2016 the Plaintiff was declared
a Whistle Blower by the MSPB's Initial Decision, granting reinstatement with back pay. In MSPB CH- 0752-15-
0104I-2, The MSPB initial decision came with an ORDER for Interim Relief. The           MSPB Initial decision had
instructions on filing for damages once the ORDER became FINAL which the MSPB judge alluded to awarding two
types of damages. Less than 24 hrs. before the MSPB Order was to be FINAL, the Agency submitted a
FRAUDULENT Petition for Review(PFR) , The Cincinnati VA did NOT file a petition against some 45 stipulations
levied against the Plaintiff, the Agency PFR, only DISPUTED the Plaintiff being declared a WHISTLEBLOWER.
The Only evidence the Agency used to dispute the Plaintiff being a Whistle Blower was the testimony of Former
Cincinnati VA Director Linda Smith. The Plaintiffs however submitted Direct Evidence of PERJURY. The MSPB
FAILED to respond the Plaintiffs Motion submitted on May 2, 2016 arguing NON COMPLIANCE and
PERJURY, on November 10, 2021, the MSPB gave the Cincinnati VA another opportunity to respond to the
Plaintiffs allegations of NON COMPLIANCE and to respond to The Plaintiffs DIRECT EVIDENCE of perjury.
The VA had until November 20, 2021 to submit evidence of COMPLAINCE and to RESPOND to the Plaintiff's
allegations of perjury. The VA FAILED to respond! SEE 5 CFR § 1201.116 - Compliance with orders for
interim relief. This means the VA's PFR is ripe for DISMISSAL. The VA had until December 5, 2021 to respond
the Plaintiffs CROSS PETTION FOR REVIEW (CPFR) but also FAILED to Respond. The MSPB Initial judge decision
sustained the charge of failing to meet with PhD Scott Hutton the VA Psychiatric Nurse overseeing the VA Threat
Assessment Team. and for throwing away another VA employee's print out from a community printer because the
Plaintiff ADMITTED to both charges, therefore the Judge reasoned the Plaintiffs admittance was grounds to sustain
the charges. The Plaintiffs CPFR argument is the VA FAILED to prove Actionable Miscnirduct. The MSPB
Administrative Record has multiple retaliatory motives. Noting since the Cincinnati VA also FAILED to respond to
the Plaintiffs Cross Petition their legal redress is MUTE. , meaning the Plaintiff has a high likelihood to SUCCEED.
See Stop Rail Now v. DeCosta, 203 P.3d 658, 663 (Haw. Ct. App. 2oo8)("Generally, the standard for a
preliminary injunction is: (1) whether the moving party has shown that it is likely to succeed on the merits; (2)
whether the balance of irreparable harms favors the issuance of an injunction; and (3) whether the public interest
supports granting such an injunction"). The Plaintiff argues the Cincinnati VA Filed a fraudulent motion on purpose
when they knew the MSPB was without quorum. As a result of the lack of MSPB quorum, the Plaintiff was subject to
irreparable harm, and continues to suffer. The Plaintiff had just come out of litigation from 2014, since the Cincinnati
VA failed to follow any rules, the Plaintiff was subject to continual violations of retaliation, and discrimination. The
Plaintiff who was revolved right back out the door was forced to cash out her Federal Retirement resulting in penalties
and fees. The Plaintiff ended up in financial disputes with family and was illegally evicted by her Paternal Uncle in
November of 2017. The Plaintiff then lost custody of a maternal cousin whom she had custody of since 2004. The
Plaintiff lost custody of a family member, whom she had in her custody since the child was 6 months old to being a
teenager. The teenage family member the Plaintiff raised, was identified to have a venerable mental status since
having been born substance exposed and had never formally met his biological parents. The Teenager attempted to

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commit suicide after the Plaintiff and the minor child experienced eviction in 2017 was taken into state custody passed
around through nearly (6) different homes and facilities and will be emancipated in March of 2022. Both the teenager
and Plaintiff have been subject to systematic abuse of authority in the governmental arenas. The Plaintiff claims that
both she and other family members were harmed by the actions of the Cincinnati VA. The lack of remedy available
through administrative remedies has led to additional crisis and additional litigation. The Plaintiff was ultimately
subject to homelessness twice and remains financially venerable while being priced out of the housing market. The
Plaintiff lost a house she owed LESS than $100,000) (One hundred thousand dollars) which sold for $225,000 (Two
Hundred and Twenty Five Thousand Dollars) The Plaintiff did not receive any monies for the sale of her home. The
Plaintiff a service connected veteran , has been mentally harmed from the atrocities suffered at the hands of the
Department of Veteran Affairs. Noting Prior to the Plaintiffs Employment at the VA. The Plaintiff was a private person
who did not have her name plastered all over google attached to multiple litigations. The Plaintiff should not be stuck
in a perpetual non ending cycle of litigation because the Senate is refusing to do their job. See Pop Radio, LP v.
News America Marketing In-Store, Inc., 898 A.2d 863, 867 (Conn. Super. Ct. 2005).                      'To obtain a
temporary injunction, an applicant must plead and prove: (1) a cause of action against the defendant; (2) a probable
might to the relief sought; and (3) a probable, imminent, and irreparable injury in the interim.
                                                            FACTS
    I.   Irreparable Harm
The Plaintiff a former AFGE Union Steward, and Administrative Assistant to the Cincinnati VA credited with 10 years
of Federal Service, has been subject to a series of retaliatory acts to include but not limited to: Malicious and
discriminatory prosecution of disorderly conduct charges in a closed federal criminal courtroom absent any advocacy
or representation. The Plaintiff a decorated veteran of the US ARMY and Tennessee National Guard, United States
Property Fiscal Office, has been a victim of slander, harassment, bullying, assault, stalking, car vandalism, aand has
had her reputation negatively affected by people for conspired to lie on her and get her fired. None of the violators of
the law have been held accountable while the Democratic Senate Leader Chuck Schumer arbitrarily refuses to
schedule the confirmation hearings for the MSPB judges. The US Senate is making HISTORY by having the MSPB go
without quorum for over 5 years, thus violating the Administrative Procedure Act. The Administrative Procedure Act
(APA) is a federal act that governs the procedures of administrative law. The APA is codified in .9 U.S.C. M ssi-
&5r&.The core pieces of the act establish how federal administrative agencies make rules and how
they adjudicate administrative litigation. .9 U.S.C.               clarifies that rulemaking is the "agency process for
formulating, amending, and repealing a rule," and adjudication is the final disposition of an agency matter other than
rulemaking. Formal Rulemaking. 5 U.S.C.                556, and 552 govern formal rulemaking_
The Plaintiff argues the Cincinnati VA filed a Fraudulent Motion in the first place, and the collective actions of
both the Cincinnati VA, and the US Senate have caused the Plaintiff to be subject to a series of acts that have and
continue to cause IRREPERABLE HARM. The Plaintiff argues, she vas both illegally retaliated and discriminated.
against following her MSPB reinstatement, and she also currently has a case pending in Federal Court, See Eastern
District Court of Kerrtu&v CIVIL ACTION 17-95-DLB CIS which is under APPEAL -vOth the 60, Circuit Court of
Appeals, SEE APPEALS CASE 21-5148, last motion filed by the Appellant December 2021, [Response to Brief of
Defendants]. The Plaintiff has been approved as a pauper in both the Easter District Court of Kentucky and the 611,
Circuit Court of Appeals, and argues that she is more venerable to ongoing irreparable harms if the courts do not take
action. The Senate has not forecast iwhen theN. plan to confirm the MS PB judges who have be nominated during not
one t-wo presidential terms. As of February 2022, over too advocacy groups have contacted the Senate or11y to be
what appears to be stone walled. Consequently the Democrats appear to want to fast track the confirmation of a
                                                                                                                          v
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Supreme Court Justice, while the Senate has stonewalled just about everyone including the media about the
confirmations of the MSPB Judge. Senate majority leader, Chuck Schumer, has the potential to corrupt justice by
trying to fast track a Supreme Court Justice when the current Justice has not even formally retired yet while
thousands of cases in the MSPB are without a pathway to judicial remedy. The temporai)- injunction requested by the
Plaintiff, is not an effort to block the confirmation of the Supreme Court Justice, but to DELAY the confirmation
until the MSPB seats, which have been empty for over 5 years is completed FIRST. See Winter v. Natural Res.
Def. Council, Inc., 555 U.S. 7, 20 (2oo8) district court may grant injunctive relief only if the movant establishes
the following: (t) it has a substantial likelihood of success on the merits of the underlying case; (2) the movant will
suffer irreparable harm in the absence of an injunction, (3) the harm suffered by the movant in the absence of an
injunction would exceed the harm suffered by the opposing party if the injunction issued, and; and (4) an injunction
would not disserve the public interest


    II. Irreparable Harm To Others & Public Interest
See Stop Rail Now v. De Costa, 203 P.3d 658, 663 (Haw. Ct. App. 2008)("Generally, the standard for a
preliminary injunction is: (1) whether the moving party has shown that it is likely to succeed on the merits; (2)
whether the balance of irreparable harms favors the issuance of an injunction; and (3) whether the public interest
supports granting such an injunction"). The Plaintiff argues that if the courts do not issue an injunction to block the
confirmation of the Supreme Court Justice, the Senate -vN411 continue to ignore the thousands of cases on black log at
the MSPB. Senate Leader, Chuck Schumer appears to be abusing his authority given he has not had to answer to
anyone when he is blatantly repudiating the Administrative Procedure Act, The Civil Service Reform Acts and
violating federal employees, more noteworthy a US Veteran's right to Due Process Under the United State
Constitution. See Pacific Mutual Life Insurance Co. v. Haslip, 499 U.S. 1, 28-34 (199 1) (Scalia, J.,
COnC717-7-ing) (describing the histo7y of due p7.00eSs from the Magna Ca7-ta in 1215i to an English statltte f7-onz 1354, to
the Anze7-ican colonists' Understanding of the te7771 in the late 18th century as expressed in their laws and state
CO7lstitlltiO7zs, to Supreme Court decisions reached thereafter See Lloyd-La Follette Act, 37 Stat. 555, Aug. 24,
1912.5 S. Rep. 95-969, at 40 (1978 U.S.C.C.A.N. 2723, 2762) (explaining that the CSRA's "new procedures
[were expected tQ] 7nake it possible to act against ineffective employees with reasonable dispatch, while still
providing the employee his due process rights'). Congress holds legislative power to address violations for failing to
uphold the oath of office, yet House Speaker Nancy Pelosi , also appears to ignore the case bag log since neither the
Senate Leader or House Speaker Pelosi, are not immediately affected by the matter. The Plaintiff is for all intents a
purposes a "whistle blower", subject to the judicial remedies outlined under the Whistle Blower Protection
Enhancement Act, she not only speaks for herself but for thousands of others who have been victim to federal
abuses of authority. The Plaintiff argues the temporary injunction will force the hand of the Senate to do their job
most expeditiously. The Plaintiff who also has an EEO/MSPB Civil Action directly tied to her pending MSPB case
would like intervention by the courts to address the issue of having numerous litigants being stuck in litigation and
are subject to irreparable harm due to delayed justice. See Marxe v. Jackson, 833 F.2d 1121(3d Cir.1987); In
the employment law context, certain jurisdictions support a presumption of irreparable harm in discrimination and
retaliation cases. A temporary injunction will force the hand of the US Senate to do their job and reinstate the
remedies established by the Civil Service Reform Act, the Whistle Blower Protection Act, the Administrative Procedure
Act and the United States Constitutional Right to Due Process derived from Magna Carta. Consequently, the public
interest here favors issuance of a preliminary injunction for reasons similar to those discussed with respect to the
other preliminary injunction factors: "[Pursuing Am.'s Greatness v. F.E.C., 831 F.3d 500, 511(D.C. Cir.
                                                                                                                          lu
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 2016) (quoting Gordon v. Holder, 721 F.3d 638,653 (D.C. Cir. 2013)); see also League of Women
 Voters v.Newby, 838 F.3d 1,12 (D.C. Cir. 2016) ("There is generally no public interest in the
 perpetuation of unlawful agency action."). There is in fact a `substantial public interest in having
 governmental agencies abide by the federal laws that govern their existence and operations." League of Women
 Voters, 838 F.3d 12. Because "it may be assumed the Constitution is the ultimate expression of the public interest.
 Finally it is in the public interest of the United States to uphold the constitution, and to hold the politicians
 responsible for the duties they are tasked to uphold. A temporary injunction will force the hand of the Senate to hold
the confirmation hearings before attempting to fast track a nominee to the Supreme Court Justice.

                                  STATEMENT REGARDING ORAL ARGUMENT
 While the Plaintiff feels her stated written argument should suffice a request for a Preliminary- Injunction, The
 Plaintiff is documenting a request for an oral argument to be a voice of advocacy for herself and countless others who
 have been stuck in a perpetual state of litigation with no foreseeable ending in sight. Due to the senate's failure to
confirm the MSPB Judges, justice has been denied for over 5 years. The Plaintiff is not the only person affected by
denied justice. Justice delayed, interpreted as Justice denied, has been a colloquialism echoed by the Civil Rights
leaders of the .Jim Crow era. While President Biden has been all over television promoting the idea of seating the
 FIRST black woman to the Supreme Court, the Plaintiff is essentially a black woman who has been injured by the
delayed justice through the same group of people charted to confirm Ketanji Brown Jackson. ,Justice delayed is
justice denied" is a legal maxim. It means that if legal redress or equitable relief to an injured party is
available, but is not forthcoming in a timely fashion, it is effectively the same as having no remedy at
all. The Plaintiff argues that if the courts fail to temporarily block the confirmation of the Supreme Court Justice until
the Senate Confirms the MSPB judges, The Plaintiff is a Black woman who is being denied justice. The Plaintiff only
seeks to present Oral Argument as outlined in Federal Rules of Civil Procedure 34, if the courts want the
 Plaintiff to further elaborate on the grounds to necessitate the requested Preliminary Injunction
                                                      CONCLUSION
For the foregoing reasons, this Court should grant Plaintiffs' Motion for Preliminary Injunction and direct the Senate
to Confirm the MSPB Judges prior to attempting to confirm the Supreme Court Nominee. The Plaintiff also request to
hold Senate Leader Chuck Schumer in contempt of Court, if he does not schedule the MSPB Confirmation within go
of the injunction, making him subject to fines and or penalties to include but not limited to violation of federal
employees oath of office. The Plaintiff request review of any and all case law cited in her case listing even if it is not
presented in written argument. The Plaintiff concludes that she has already been labeled as a Federal While Blower
and is subject to any and all provisions of protection afforded to her under various federal statutes. The Plaintiff
reiterates that she has been subject to irreparable harms, but is likely to success on her MSPB Case in which a
fraudulent PFR has blocked has delayed her path to justice and that path was further blocked by the Senates Failure to
confirm the judges. The Plaintiff argues that she is the voice for the over 3,400 cases that remain in limbo an she prays
that the court will implement the said Injunction with out delay. KJV Amos 5;24 let judgment run down as waters,
and righteousness as a mighty stream.
Re     ectfully Submi        ,
                                                                              Dated: March 2022
Justicia Rizzo, Non Atto              Veteran
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                                        CERTIFICATE OF SERVICE

The undersign, certifies the foregoing, Request for Injunction is to be Served by US Marshall . Pursuant to Federal
Rules of Civil Procedure 4.1(a)


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